                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:14cv_____
                         [Criminal Docket No. 3:10-cr-00124-MOC]

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
                                                 )
Vs.                                              )                        ORDER
                                                 )
TODD C. SNEAD,                                   )
                                                 )
                 Defendant.                      )



       THIS MATTER is before the court on petitioner’s letter dated January 21, 2014 (#364).

Review of the defendant’s letter reveals that petitioner seeks a recommendation by this court of

placement in a Residential Re-Entry Center based on his good conduct and accomplishments

during his incarceration and to facilitate his transition after release. Title 18, United States Code,

Section 3621(b), provides in relevant part as follows:

       (b) Place of Imprisonment.— The Bureau of Prisons shall designate the place of
       the prisoner’s imprisonment. The Bureau may designate any available penal or
       correctional facility that meets minimum standards of health and habitability
       established by the Bureau, whether maintained by the Federal Government or
       otherwise and whether within or without the judicial district in which the person
       was convicted, that the Bureau determines to be appropriate and suitable,
       considering—
***
       (4) any statement by the court that imposed the sentence—
               (A) concerning the purposes for which the sentence to
               imprisonment was determined to be warranted; or
               (B) recommending a type of penal or correctional facility as
               appropriate . . . .

18 U.S.C. § 3621(b). The Second Chance Act, cited by petitioner, impacts the RRC program as

provided by Section 3621, and provides as follows in pertinent part:


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       The Director of the Bureau of Prisons shall, to the extent practicable, ensure that a
       prisoner serving a term of imprisonment spends a portion of the final months of
       that term (not to exceed 12 months), under conditions that will afford that
       prisoner a reasonable opportunity to adjust to and prepare for the reentry of that
       prisoner into the community. Such conditions may include a community
       correctional facility.

18 U.S.C. § 3624(c)(1). Placement of an inmate in an RRC during the final portion of his

sentence is sometimes referred to as “pre-release RRC placement” and placement of an inmate in

an RRC at any other point during his sentence pursuant to § 3621(b) is called an “anytime RRC

placement.” Delfino v. Berkebile, 2011 WL 1088013, *3 (S.D.W.Va. March 23, 2011).

       Construing such letter in a light most favorable to petitioner, the court considers it to be a

motion made in accordance with 28, United States Code, Section 2255, requesting the court to

amend its Judgment in a manner as to recommend placement in such program during the final

year of incarceration When considered under Section 2255, the motion is time barred as it was

filed more than one year after the date on which Judgment became final, 28 U.S.C. § 2255(f)(1),

and more than one year after the date on which the facts supporting the claims could have been

discovered. 28 U.S.C. § 2255(f)(4).1

       To the extent petitioner asks that the court grant relief in the first instance under the

Second Chance Act of 2007, the provisions of 18, United States Code, Section 3624(c), concern

actions to be taken by the Director of the Bureau of Prisons, not the court. Whether to place a

person in any pre-release program appears to be a duty delegated to the Executive Branch and

not the Judiciary. Matters Congress delegates to the Director of the Bureau of Prisons are not

left to the discretion of the courts. See United States v. Stubbs, No. 97-4948, 1998 WL 387253,

at *1 (4th Cir. June 24, 1998) (per curiam) (citing United States v. Wilson, 503 U.S. 329


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                The court has not provided a Castro notice inasmuch as petitioner’s time for filing
a petition had lapsed at the time he filed the instant letter.

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(1992)). The Director of Bureau of Prisons is uniquely qualified to determine what re-entry

programs are appropriate for an incarcerated person as the Director is familiar with petitioner’s

adjustment and accomplishments while incarcerated, while the court has no credible basis for

making any such determination.

       Finally, the court has considered whether petitioner is alleging that he has been denied

any relief by the Bureau of Prisons under the Second Chance Act of 2007. Close review of the

petition does not reveal any allegation that he exhausted his administrative remedies prior to

seeking habeas relief. This means that petitioner must fully exhaust all avenues for relief

afforded by the Bureau of Prisons before filing a petition with this court. The earliest petitioner

is likely to know whether the BOP will place him in an RCC is 19 months prior to his release

date. Delfinoe, 2011 WL at *4. Even if he had exhausted his BOP administrative remedies, such

a motion would likely be a challenge brought under 28, United States Code, Section 2241, in the

district in which he is incarcerated, id., which appears to be the Northern District of Georgia.

                                           ORDER

       IT IS, THEREFORE, ORDERED that

   (1) petitioner’s letter dated January 21, 2014 (#364) is construed to be a Motion to Vacate,

       Set Aside, or Modify a Judgment Under Section 2255;

   (2) the Clerk of Court is instructed to open a civil action and docket such letter as a Section

       2255 action;

   (3) petitioner’s letter dated January 21, 2014 (#364) is construed to be a Motion to Vacate,

       Set Aside, or Modify a Judgment Under Section 2255, and is DENIED without prejudice

       as untimely and for failure to assert a claim that is cognizable by this court.




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   Petitioner is encouraged strongly to work with his case manager in seeking an appropriate

plan under the Second Chance Act. Petitioner is further encouraged to continue with his pursuit

of programs that will assist him upon his release.

                               Denial of Certificate of Appealability

       Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases, this court declines to

issue a certificate of appealability as petitioner has not made a substantial showing of a denial of

a constitutional right. 28 U.S.C. § 2253(c)(2); Miller El v. Cockrell, 537 U.S. 322, 336 38

(2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would

find the district court's assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484–85 (2000) (in order to satisfy § 2253(c) when court denies relief

on procedural grounds, a petitioner must demonstrate both that the dispositive procedural ruling

is debatable, and that the petition states a debatable claim of the denial of a constitutional right).


                           Signed: 1/30/2014




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